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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
INTERNATIONAL BROTHERHOOD           )         Case No.: ______________
OF TEAMSTERS, AIRLINE               )
DIVISION                            )         Hon. ___________________
25 Louisiana Avenue NW              )
Washington, DC 20001,               )         (Jury Trial Demanded)
                                    )
and,                                )
                                    )
AIRLINE PROFESSIONALS               )
ASSOCIATION OF THE                  )
INTERNATIONAL BROTHERHOOD           )
OF TEAMSTERS, LOCAL UNION NO. 1224 )
2754 Old State Route 73             )
Wilmington, OH 45177,               )
                                    )
and,                                )
                                    )
KRISTOFER LANG                      )
2771 NE 15th Street                 )
Apt. No. 8                          )
Fort Lauderdale, FL 33304           )
                                    )
                  Plaintiffs,       )
                                    )
            v.                      )
                                    )
ATLAS AIR, INC.                     )
2000 Westchester Avenue,            )
Purchase, New York 10577            )
                                    )
and,                                )
                                    )
POLAR AIR CARGO WORLDWIDE,          )
INC.                                )
2000 Westchester Avenue,            )
Purchase, New York 10577            )
                                    )
                        Defendants. )




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            PLAINTIFFS’ VERIFIED COMPLAINT
   FOR PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF,
           DECLARATORY RELIEF AND DAMAGES

      Plaintiffs International Brotherhood of Teamsters Airline Division,

(“IBT”), Airline Professionals Association, Teamsters Local Union No. 1224, an

affiliate of the IBT, (“Local 1224”) (collectively the “Union”), and Captain

Kristofer Lang (“Lang;” together with the Union, “Plaintiffs”), for their

complaint against Defendants Atlas Air, Inc. (“Atlas”) and Polar Air Cargo

Worldwide, Inc. (“Polar”) (collectively, “Defendants”) hereby state as follows:

                       JURISDICTION AND VENUE

      1.     Plaintiff Union brings this action seeking equitable relief under

the Railway Labor Act (“RLA”), 45 U.S.C. § 151, et seq., as well as declaratory

relief pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq.

providing that: (a) Defendants are violating the RLA by unlawfully retaliating

against pilot Kristofer Lang; and (b) suppressing the federally-protected free

speech and associational rights of the Union’s members and, in so doing, are

undermining the Union in the exercise of its exclusive representational rights

under the RLA. Additionally, Plaintiff Union, in its representative capacity as

the exclusive bargaining representative of the pilots employed by Defendants,

including Plaintiff Lang, along with Plaintiff Lang, bring a supplemental claim

under the law of the District of Columbia for wrongful discharge. Accordingly,

this Court has original jurisdiction over this matter pursuant to 28 U.S.C. §§

1331, 1337, 1367, 2201, and 2202.



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      2.     The injunctive relief sought by this action is necessary to stop the

Defendants from: (a) unlawfully interfering with the Union’s approximately

1,600 commercial aircraft pilot employees’ federally-protected associational

rights; (b) undermining the pilots’ duly authorized collective bargaining

representative from lawfully carrying out its exclusive representative

responsibilities; and (c) retaliating against pilot Captain Lang on account of

his having provided federal court testimony in this Court in support of the

Union in opposition to Defendants’ motion for a preliminary injunction against

the Union in the pending action styled Atlas Air, Inc., et al. v. International

Brotherhood of Teamsters, Airline Division, et al., Civil Action No. 1:17-cv-

01953-RDM, (D.D.C. 2018). Indeed, Defendants have discharged Captain

Lang, one of their employees, from his position as a Crew Training Instructor

(“CTI”) because of said testimony in support of his union and against the

Defendants. That punishment has sent a clear, unmistakable and chilling

message to the entire Atlas pilot group that their involvement in lawful

protected activity in support of their Union will not be tolerated and is taken

only at the peril of losing their jobs. Defendants’ aforesaid actions against

Captain Lang were undertaken for the purpose of retaliating against him for

providing testimony in a legal proceeding pending in this Court. Defendant’s

actions against Captain Lang were also for the purpose of impeding the Union’s

ability to function as the certified collective bargaining representative of the




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craft or class of pilots under the RLA and to unlawfully coerce a collective

bargaining settlement from the Union.

      3.     Venue under 28 U.S.C. § 1391(b)(2) and (3) is proper in, and

personal jurisdiction over Defendants exists, in this District. In this regard,

Defendants reside and regularly conduct business operations within this

District, and the testimony by Captain Lang on behalf of the Union that is the

subject of this action occurred in this District in the above-referenced case

brought by Defendants against the Union that is pending in this Court.

                               THE PARTIES

      4.     Plaintiff IBT is a labor organization and is the exclusive

bargaining representative, as such term is defined by Section 1, Sixth of the

Railway Labor Act (“RLA”), 45 U.S.C. § 151, Sixth, of the pilots employed by

Defendant Atlas and who fly aircraft for and on behalf of Atlas and Atlas’ sister

company, Polar. The IBT is headquartered at 25 Louisiana Avenue, N.W.,

Washington, D.C. 20001. This action is brought by the IBT in its own behalf

and for and in the interests of all IBT-represented pilots employed in the

service of Defendants. The National Mediation Board (“NMB”) determined

that Atlas and Polar constituted a single transportation system for

representation purposes on September 29, 2008. Thereafter, on December 28,

2008, the NMB certified the IBT as the exclusive representative of the craft or

class of Pilots in the employ of Defendants Atlas and Polar as a single

transportation system for representation purposes.




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      5.     Plaintiff Local 1224 is a labor organization headquartered at 2754

Old State Route 73, Wilmington, Ohio 45177. It is a chartered local union

affiliate of the IBT. The IBT has delegated to IBT Local 1224 the exclusive

responsibility of providing day-to-day representation to the IBT-represented

pilots employed by Defendants.

      6.     Plaintiff Kristofer Lang is a pilot employed by Defendant Atlas

Air. As such, he is a member of the Atlas/Polar bargaining unit represented

by the IBT. In addition to his position as a pilot, Captain Lang held a position

as a CTI at Defendants’ pilot training school. As a CTI, Captain Lang taught

the Human Factors class for Defendants, which includes the fatigue risk

management program of Defendants, a program that the United States

Federal Aviation Administration (“FAA”) requires all United States-

certificated air carriers, including Defendants Atlas and Polar, to adopt and

teach to their pilots. Captain Lang was one of the original Human Factors

instructors at the training facility, and taught there an average of three or four

months per year for the last four years. He was also involved in the selection

and training of nearly all of his fellow Human Factors instructors. The

appointment of CTIs are at the Defendants’ discretion. In his position as a

CTI, Captain Lang was paid approximately $40,000 per year in addition to his

compensation as a pilot working under the Atlas/Polar-IBT collective

bargaining agreement. Captain Lang was highly praised and regarded as an

excellent CTI.




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      7.     Defendants Atlas and Polar are air carriers within the meaning

of the RLA, 45 U.S.C. § 181.        Defendants engage in world-wide cargo

operations. Although Defendants each hold separate air carrier operating

certificates from the United States Department of Transportation, they

function as a “single transportation system” under the RLA for purposes of

labor relations involving their pilot group, and Atlas is the employer of all of

the pilots who fly for both Defendants Atlas and Polar. Both Atlas and Polar

are Delaware corporations and are headquartered at 2000 Westchester

Avenue, Purchase, New York 10577.

                                   FACTS

      8.     The Union and Defendants are parties to a collective bargaining

agreement covering the rates of pay, rules and working conditions of the IBT-

represented pilots employed by Atlas.

      9.     The Union and Defendants are engaged in a collective bargaining

dispute. In this regard, pursuant to RLA Section 6, 45 U.S.C. § 156, in early

January, 2016, the Union and Defendants commenced collective bargaining

negotiations to amend their extant collective bargaining agreement.

      10.    During this collective bargaining dispute over the terms of the

bargaining agreement, on September 25, 2017, Defendants initiated a lawsuit

in this Court against Plaintiffs claiming that the Union and its pilots were




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engaged in a slowdown in violation of the RLA status quo. Atlas Inc., et al. v.

International Brotherhood of Teamsters, et al., Case 1:17-cv-01953-RDM

(D.D.C. 2018) (“Complaint”), Document 1.1 Defendants Atlas and Polar also

filed a motion for preliminary injunctive relief. In support of their complaint

and motion for preliminary injunctive relief, Defendants Atlas and Polar

submitted a sworn declaration from their Senior Vice President of Flight

Operations, Captain Jeffrey Carlson. Complaint, Doc. 5, Doc. 5-3. As Senior

Vice President of Flight Operations, Captain Carlson is responsible for all of

Defendants’ hiring, training, operations control, dispatching and scheduling.

As such he is responsible for the management of Defendants’ pilot training

school, including the content and curricula of the school’s courses, as well as

the hiring, removal, and management of the school’s CTIs who teach the

Defendants’ pilot training courses. Captain Carlson is the direct supervisor of

Defendants’ training director, Scott Anderson.

      11.    Defendants, in their Complaint and motion for injunctive relief,

averred, among other things, that the Union was orchestrating a slowdown

against Defendants by instructing Defendants’ pilots to make false fatigue

calls in order to remove themselves from duty and piloting aircraft.

Defendants further claimed that by causing such actions, the Union sought to

substantially disrupt Defendants’ flight operations. Complaint ¶ 4. See also




1Citations to the docket in Case 1:17-cv-01953-RDM will hereinafter be
styled as (“Complaint, Doc. _”).


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Declaration of Captain Jeffrey Carlson, Complaint, Doc. 5-3 (9/25/2017), ¶ 16,

22-24.

         12.   Defendants also alleged in the Complaint and motion for

preliminary injunctive relief that the Union and its pilots designed these

unlawful concerted activities to cause maximum disruption to Atlas’ operation

and thereby exert pressure on Atlas to capitulate in collective bargaining.

Complaint ¶ 39. See also Declaration of Captain Jeffrey Carlson, Complaint,

Doc. 5-3 (9/25/2017), ¶ 16.

         13.   In paragraph 53, bullet 4, page 23 of the complaint, Defendants

alleged that “[o]n July 1, 2017, a Captain, who had previously received more

than 25 hours of rest, called out fatigued on a flight carrying 340 military

members from Pope Field in North Carolina to Hahn, Germany delaying the

flight for over nine hours. All 340 military members were through passengers,

scheduled to travel on from Hahn to Kuwait. As a result of the fatigue call,

their second flight was delayed over nine hours as well.” See also Declaration

of Captain Jeffrey Carlson, Complaint, Doc. 5-3 (9/25.2017), ¶ 53, bullet 4.

         14.   The Captain referenced in that paragraph 53 was Plaintiff

Captain Lang.

         15.   As part of Defendants’ still-pending Complaint and action against

the Union, and in support of the Union’s defense against Defendants’ motion

for injunctive relief, Captain Lang submitted an October 19, 2017 sworn

declaration stating that the allegations in paragraph 53 of the complaint and




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contained in Captain Carlson’s declaration regarding him were not true. A

true and correct copy of Plaintiff Captain Lang’s declaration is attached hereto

as Exhibit “1.”

      16.    At the injunction hearing, conducted on October 31 through

November 2, 2017, Defendants Atlas and Polar disavowed every single

instance of fatigue and sick calls identified in the Defendants’ complaint as

well as Captain Carlson’s supporting declaration which purported to show

evidence of an illegal slowdown by the Union and the Atlas and Polar pilots.

Captain Lang was one of more than thirty pilots who were accused of faking

fatigue and sickness as part of a concerted slowdown effort and who submitted

a sworn declaration refuting the Defendant’s admittedly false, and the

significant emphasis that Defendants had put on instructing the pilots to

ensure they adhere to their federal regulatory duty and company policy to not

fly fatigued and therefore unfit for duty. Captain Lang testified, among other

things, about how Defendants’ managers had encouraged pilots to follow the

precepts of the Defendants’ fatigue risk management program, and to call in

fatigued more often rather than risk their lives and safety as well as that of

their fellow crewmembers, passengers, and people on the ground. Captain

Lang’s testimony effectively and very powerfully countered and refuted

Defendants’ allegations in the Complaint, as well as the written and live

testimony of Captain Carlson, that the pilots were illegally calling off fatigued

as part of a Union pilot slowdown to pressure the Defendants in negotiations.




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Defendants’ senior executives, including William Flynn, the president and

chief executive officer of Atlas Air Worldwide Holdings, Inc., Defendants’

parent holding company, and John Dietrich, Atlas Air Inc.’s president and chief

operating officer, attended the court hearing along with Captain Carlson, and

were present when Plaintiff Captain Lang testified.

      17.    On November 30, 2017, this Court granted Defendants’ motion

for a preliminary injunction against the Union.       Complaint, Docs. 59, 60

(11/30/17). In so doing, however, the Court rejected the Defendants’ claims that

the Union and Defendants’ pilots had unlawfully engaged in a slowdown by

falsely calling off fatigued. In support of that conclusion, the Court expressly

referred to Plaintiff Lang’s testimony. In this regard, Judge Moss wrote that:

      In addition, according to Captain Christopher Lang, one of Atlas’s
      FRMP instructors, the company and its pilots have “constantly
      developed the program and increased the training on—the awareness
      training on fatigue.” Hearing Tr. Day 3 (96:8–17). Captain Lang further
      testified that, “[p]articularly since February of this year, [they have]
      increased the [in-class] training,” and that they added a “fatigue
      module” to the mandatory, quarterly computer training “this year” and
      “probably” for “part of last year as well.” Id. (96:8–98:4). And, finally,
      Captain Lang testified that Atlas’s program director for the FRMP
      appeared at a check airmen’s meeting in August of this year and, after
      about half of the pilots present conceded that they had flown fatigued,
      he “encouraged [those present] to call in fatigued more often; to improve
      flight safety and not [to] fly when . . . fatigued.” Id. (98:7–99:12).


Complaint, Doc. 59, pg. 52.

      18.    Defendants did not appeal the Court’s denial of preliminary

injunctive relief with respect to the Court’s rejection of their accusations that




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the Union and their pilots had engaged in an illegal slowdown by falsely calling

off fatigued.

       19.      Captain Lang last taught at Defendant’s training facility as a CTI

in September, 2017. He was scheduled to teach Defendants’ Human Factors

class again in December 2017 and thereafter in April, November and

December, 2018. Shortly before traveling to the training facility to teach the

Human Factors course in December, 2017 as he had been scheduled,

Defendants’ management notified Captain Lang that he would not teach the

course and directed that he instead work as a line pilot. The same thing

happened just before he was scheduled to teach the Human Factors course in

April, 2018; management told him that he would not teach the course and

directed him to work as a line pilot instead. In both instances, the Human

Factors course was conducted, but Defendants staffed it with instructors other

than Captain Lang.

       20.      In March or April, 2018, Captain Lang received a phone call from

Defendants’ training director, Scott Anderson. Anderson issued Captain Lang

a “verbal counseling”, directing him to change his behavior. Captain Lang

asked Anderson to clarify his instruction, as Anderson had not given him any

details or reasons giving rise the directive. Captain Lang was also confused by

the directive because he was not sure what “behaviors” Anderson was referring

to - as the last time he had worked in the training center was in August and

September of 2017.




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      21.    In September, 2018, Defendants’ training director, Scott

Anderson, sent Captain Lang an email requesting that he meet with Anderson

on September 17, 2018 after he had finished taking his scheduled recurrent

training class. At that meeting, Anderson told Captain Lang, “you know what’s

coming.” Indeed, Captain Lang did not know “what was coming,” and asked

Anderson what he meant. Anderson then told Captain Lang that he was being

removed as a CTI effective October 1, 2018.          Captain Lang twice asked

Anderson why he was being fired as a CTI, but Anderson refused to give him

any reasons. Anderson did state, however, that the directive to remove him

had come from “higher up.” Inasmuch as Anderson is a senior manager and

director of Defendants’ training facility, his reference to “higher ups” could only

mean Senior Vice President of Flight Operations Captain Jeffrey Carlson and

senior executives, including William Flynn and John Dietrich. Flynn, Dietrich

and Carlson all attended the three-day injunction hearing in this Court at

which Captain Lang had testified against Defendants and resoundingly

refuted the sworn testimony of Captain Carlson and the Defendant’s

admittedly false claims. Well over fifty pilots employed by Defendants also

attended the hearings, as did reporters from several news services.

      22.    Defendants’ discharge of Captain Lang from the CTI position was

made for discriminatory and retaliatory reasons, motivated by an intent to

punish Captain Lang for testifying against Defendants in the preliminary

injunction hearing. Captain Lang’s testimony, along with his and his fellow




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pilots’ declarations, had the effect of subjecting Captain Carlson and the

Company’s senior executives to open ridicule by laying bare their mendacity in

that proceeding. As a result, the company’s management has incurred grievous

loss of respect by Defendants’ pilots, whom continue to doubt their veracity.

       23.    Defendants’ discharge of Captain Lang was also made to chill

Captain Lang and the Defendants’ other Union-represented pilots from

testifying for or otherwise engaging in support of the Union with respect to its

representative activities and functions.

       24.    Defendants’ discharge of Captain Lang was also made to

intimidate and coerce Plaintiffs and Defendants’ pilots to acquiesce to

Defendants’ bargaining demands in their ongoing labor dispute with the Union

regarding the amendment of the collective bargaining agreement between the

Defendants and the Union.

       25.    Defendants’ conduct, as evidenced by their activities described in

this Complaint, is motivated by anti-union animus, and is interfering with,

influencing with, and coercing the employees’ choice of representatives for the

purpose of weakening the union as an institution. The aforementioned

unlawful conduct is part of a predetermined, improper anti-union campaign

designed and undertaken to strike a fundamental blow to the Union, its efforts

in securing a favorable contract for its members, and the collective bargaining

process itself.




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      26.    Defendants’ actions against Plaintiff Lang and the harm they

have caused him and the Union cannot be remedied through the

grievance/arbitration procedure set forth in the collective bargaining

agreement between the Union and Defendants because the CTI position from

which Captain Lang was discharged is effectively an at-will position.

                           CAUSES OF ACTION

                                  COUNT I

                (Violation of Section 2, First of the RLA)

      27.    The allegations of paragraphs 1 through 26 of the Complaint are

incorporated herein by reference pursuant to Fed. R. Civ. P. 10(c).

      28.    Section 2, First of the RLA, 45 U.S.C. § 152, First, states:

             It shall be the duty of all carriers, their officers,
             agents, and employees to exert every reasonable
             effort to make and maintain agreements concerning
             rates of pay, rules, and working conditions, and to
             settle all disputes, whether arising out of the
             application of such agreements or otherwise, in
             order to avoid any interruption to commerce or to the
             operation of any carrier growing out of any dispute
             between the carrier and the employees thereof.

      29.    By retaliating against Captain Lang and attempting to chill pilot

support of the Union in its representative activities and functions, Defendants

have acted in violation of their duties under Section 2, First of the RLA by

improperly and in bad faith seeking to use the Defendants’ pilots as leverage

to force the Union and the pilots to acquiesce to the Defendants’ bargaining




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demands and strategies with respect to the on-going collective bargaining

dispute between the Defendants and the Union.

      30.    The Defendants and Union have a long-standing practice not to

politicize the hiring and firing of CTIs and not to use CTIs as cannon fodder to

leverage each other’s bargaining demands during collective bargaining

negotiations. That practice constitutes part of the status quo that must be

preserved under the RLA while the Defendants and the Union remain engaged

in their ongoing collective bargaining dispute – a dispute that is covered by

RLA Sections 6 and 5, 45 U.S.C. §§ 156, 155. By discharging Captain Lang as

a CTI and, in so doing, attempting to chill pilot support of the Union in its

representative activities and functions, Defendants have acted in violation of

their status quo obligations under Section 2, First of the RLA by unilaterally

changing terms and conditions of employment, including objective practices

recognized by the parties.

      31.    The Union is entitled to injunctive relief to remedy Defendants’

violation of their status quo duties under Section 2, First of the RLA without

regard to the existence of irreparable harm. To the extent a showing of

irreparable harm is required, Defendants’ actions in discharging Captain Lang

in the course of the on-going collective bargaining dispute between the

Defendants and the Union, the Defendants are irreparably injuring the Union

in the performance of is representational activities and functions and




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irreparably harming the Union’s members by chilling and limiting its

members’ free speech and associational activities in support of their Union.

                                  COUNT II

      (Violations of RLA, Section 2, Seventh, and RLA, Section 6)

      32.    The allegations of paragraphs 1 through 31 of the Complaint are

incorporated herein by reference pursuant to Fed. R. Civ. P. 10(c).

      33.    Section 2, Seventh of the RLA, 45 U.S.C. § 152, Seventh, states

             No carrier, its officers, or agents shall change the
             rates of pay, rules, or working conditions of its
             employees, as a class, as embodied in agreements,
             except in the manner prescribed in such agreements
             or in section 156 of this title.

      34.    Section 6 of the RLA, 45 U.S.C. § 156, further states:

             Carriers and representatives of the employees shall
             give at least thirty days’ written notice of an
             intended change in agreements affecting rates of
             pay, rules or working conditions, and the time and
             place for the beginning of conference between the
             representatives of the parties interested in such
             intended changes shall be agreed upon within ten
             days after the receipt of said notice, and said time
             shall be within the thirty days provided in the
             notice. In every case, where notice of intended
             change has been given . . . rates of pay, rules, or
             working conditions shall not be altered by the carrier
             until the controversy has been finally acted upon, as
             required by Section 155 of this title, by the
             Mediation Board, unless a period of ten days has
             elapsed after termination of conferences without
             request or proffer of the services of the Mediation
             Board.

      35.    Defendants and the Union are engaged in a collective bargaining

dispute involving the amendment of their collective bargaining agreement.



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That dispute is pending before the NMB, pursuant to RLA Sections 6 and 5, 45

U.S.C. §§ 156, 155.

      36.    By discharging Captain Lang as a CTI and, in so doing,

attempting to chill pilot support of the Union in its representative activities

and functions, Defendants have acted in violation of their status quo

obligations under Section 2, Seventh and Sixth of the RLA by unilaterally

changing terms and conditions of employment, including objective practices

recognized by the parties.     Moreover, as the case with respect to the

Defendants; violations of RLA Section 2, First, the Union is entitled to an

injunction to enjoin violations of the status quo provision of RLA Section 2,

Seventh and Section 6, without regard to the existence of irreparable harm.

                                 COUNT III

                (Violation of Section 2, Third of the RLA)

      37.    The allegations of paragraphs 1 through 36 of the Complaint are

hereby incorporated by reference pursuant to Fed. R. Civ. P. 10(c).

      38.    Section 2, Third of the RLA, 45 U.S.C. § 152, Third provides:

             Representatives for the purposes of this chapter,
             shall be designated by the respective parties without
             interference, influence or coercion by either party
             over the designation of representatives by the other;
             and neither party shall in any way interfere with
             influence, or coerce the other in its choice of
             representatives.

      39.    By retaliating against Captain Lang for engaging in protected

Union-related activity, Defendants interfered with, influenced and/or coerced




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Captain Lang and all of the Defendants’ pilots in the exercise of their right to

designate representatives of their choosing. By such conduct, Defendants also

interfered with the right of the Union and its members to freely participate in

protected activity under the RLA.

      40.    The actions of the Defendants referenced herein were motivated

by anti-union animus and taken for the purpose of impairing the ability of the

Union and its members to function, freely associate, to destroy support for the

Union, to weaken the IBT and ultimately destroy it as representative, and to

coerce a collective bargaining settlement.

                                  COUNT IV

               (Violation of Section 2, Fourth of the RLA)

      41.    The allegations of paragraphs 1 through 41 of the Complaint are

hereby incorporated by reference pursuant to Fed. R. Civ. P. 10(c).

      42.    Section 2, Fourth of the RLA, 45 U.S.C. § 152, Fourth provides:

             Employees shall have the right to organize and
             bargain collectively through representatives of their
             own choosing . . . No carrier, its officers, or agents
             shall deny or in any way question the right of its
             employees to join, organize, or assist in organizing
             the labor organization of their choice and it shall be
             unlawful for any carrier to interfere in any way with
             the organization of its employees, or to use the funds
             of the carrier . . . to influence or coerce employees in
             an effort to induce them . . . not to join or remain
             members of any labor organization.

      43.    By retaliating against Captain Lang for the purpose of chilling

and squelching support for the Union, Defendants have interfered with, and




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continue to interfere with, the rights of employees to bargain collectively

through their Union free from coercion and interference from Defendants, and

have continued to coerce and interfere with the right of Union members to

freely participate in protected activity under the RLA.

      44.    The actions of Defendants referenced herein were motivated by

anti-union animus and taken for the purpose of impairing the ability of the

Union and its members to function and freely associate, to destroy support for

the Union, to weaken the Union and to ultimately destroy it as representative,

and to coerce and intimidate the Union and its members to accede to

Defendants’ demands in the ongoing labor dispute between the Defendants and

the Union. Defendants’ actions as described herein have harmed the Union in

is representational capacity as well the entire Atlas bargaining unit

represented by the Union; as such, none of these injuries can be resolved by or

through a contractual adjustment board.

      45.    By engaging in said actions, Defendants have violated, and

continue to violate, Section 2, Fourth of the RLA, 45 U.S.C. § 152, Fourth.

                                  COUNT V

         (Violation of Public Policy – Wrongful Discharge Tort)

      46.    The allegations of paragraphs 1 through 45 of the Complaint are

hereby incorporated by reference pursuant to Fed. R. Civ. P. 10(c).

      47.    Captain Lang was employed by Defendants as a CTI.




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       48.    On or about October 1, 2018, the Defendants wrongfully

discharged Plaintiff Lang from his CTI position in violation of public policy.

       49.    Said wrongful discharge was predominantly motivated by his

testimony against Defendants in Atlas Inc. v. IBT, Case 1:17-cv-01953-RDM in

support of the Union.

       50.    Said wrongful discharge violated clear public policies against

intimidating, threatening and/or tampering with witnesses testifying in

judicial proceedings including but not limited to those policies set forth in the

First Amendment to the United States Constitution, the RLA, federal labor

law, 18 U.S. Code § 1512 , and D.C. Code § 22–722.

       51.    Said wrongful discharge directly and proximately caused him

substantial harm including substantial loss of pay and benefits, loss of

professional reputation, mental anguish, and further damages.

                               RELIEF REQUESTED

       WHEREFORE, the Plaintiffs respectfully request that the Court grant

the following relief:

              (A)       Declaratory relief finding that the Defendants violated the

                        RLA as set forth in Counts One through Four of this

                        Complaint.

              (B)       After conducting a hearing, issue a Preliminary and

                        Permanent Injunction prohibiting the Defendants

                        from interfering with the selection of a collective

                        bargaining representative by its pilot and flight


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             engineer employees in the craft or class, and

             specifically further prohibiting the Carrier from:

             1. Intimidating, coercing or retaliating against its

                pilots for exercising their individual or collective

                rights under the RLA and District of Columbia

                law;

             2. Wrongfully discharging, disciplining or harassing

                pilots under the RLA and District of Columbia

                law;

             3. Threatening pilots with adverse action including

                without limitation discipline and discharge from

                their line pilot positions and appointed positions

                as CTIs on account of their protected union

                activity, union support, or speech;

             4. Discriminating against pilots on account of their

                union activity or support for the union;

             5. Otherwise violating the rights of its pilots under

                the RLA and District of Columbia law.

       (C)   An order finding that Defendants discharged Plaintiff

             Lang from his position as a CTI in violation of public policy

             pursuant to the law of the District of Columba, as well as

             declaratory, preliminary and permanent injunctive relief

             requiring the Carrier to immediately reinstate Captain

             Lang to his CTI position and to provide him with work at

             his regular duties in that position as well as restoration of


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             all of his compensation and benefits and other incidents of

             employment;

       (D)   Declaratory, preliminary and permanent injunctive relief

             prohibiting the Carrier’s practice of threatening or coercing

             employees for exercising their rights to support a union;

       (E)   An Order requiring the Carrier to remove from Captain

             Lang’s employment files any references to any such

             discharge or negative information related to his activity in

             support of the Union;

       (F)   An order requiring the Carrier to conspicuously post copies

             of the Court’s injunctive order at each of its facilities and

             training locations in the United States which are regularly

             frequented by Defendants’ pilots, including without

             limitation, on internal electronic media and Carrier

             websites, and by email to all Company employees;

       (G)   An order requiring the Defendants’ Chief Executive Officer

             to personally read aloud this injunctive order to employees

             on paid work time via Carrier meetings with pilots and

             employees, e.g. “Employee Exchanges” and video via video

             posted on internal electronic media and all other Carrier

             websites, email and media;




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       (H)   An order requiring Defendants to publish the injunctive

             order, in Spanish, English, and German in the Defendants’

             internal newsletter and mail copies to all employees on the

             Defendants’ payroll going back to the onset of the unlawful

             behavior;

       (I)   An award of compensatory and punitive damages to

             Captain Lang resulting from his illegal discharge as a CTI

             and/or from any other unlawful behavior;

       (J)   An award of the Plaintiffs’ attorneys fees and costs

             incurred in bringing this action; and

       (K)   Such other and further relief as the Court deems just and

             proper.




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                                  JURY TRIAL DEMAND

          Pursuant to Fed. R. Civ. P. 38, Plaintiffs hereby demand a trial by

 jury of all issues so triable.



Dated: February 1, 2019                Respectfully submitted,


                                       /s/ Edward M. Gleason
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                                       (pro hac vice to be filed)

                                       Counsel for Plaintiffs




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                       ADITIONAL VERIFICATION

      I, Kristofer Lang, certify under penalty of perjury that I am a plaintiff

in the foregoing Complaint, that I am familiar with the matters stated in the

Complaint relating to my termination as a CTI, and that the facts stated

therein related to those matters are true and correct.


Executed _______________ ____, 2019           ______________________________
                                              Kristofer Lang




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